Case 6:08-cv-00089-RAS Document 69 Filed 10/24/08 Page 1 of 3 PagelID#: 496

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS

TYLER DIVISION

ERIC ALBRITTON, §

PLAINTIFF. ; CIVIL ACTION NO.: 6:08-CV-89

v. ; JURY TRIAL DEMANDED
CISCO SYSTEMS, INC. AND g
RICHARD FRENKEL, §
DEFENDANTS. §
§
§

DEFENDANT CISCO SYSTEMS, INC. AND RICHARD FRENKEL’S
NOTICE OF SUPPLEMENTAL DISCLOSURE

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

COMES NOW, CISCO SYSTEMS, INC. AND RICHARD FRENKEL, Defendants in
the above-captioned and numbered cause, and would respectfully show the Court that they have
made their Supplemental Disclosure of documents and an expert report, in compliance with Rule

26 of the Federal Rules of Civil Procedure and as directed by this Court.

DEFENDANTS CISCO SYSTEMS, INC. AND RICHARD FRENKEL’S NOTICE OF SUPP. DISCLOSURE
-Page I-

Case 6:08-cv-00089-RAS Document 69 Filed 10/24/08 Page 2 of 3 PagelID #: 497

Respectfully submitted,
JACKSON WALKER L.L.P.

By: /s/ Charles L. Babcock
Charles L. Babcock
Federal Bar No.: 10982
Email: cbabcock@jw.com
Crystal J. Parker
Federal Bar No.: 621142
Email: cparker@jw.com
1401 McKinney
Suite 1900
Houston, Texas 77010
(713) 752-4200
(713) 752-4221 — Fax

ATTORNEYS FOR DEFENDANT
CISCO SYSTEMS, INC.

GEORGE MCWILLIAMS, P.C.

/s/ George L. Mc Williams by
By: permission by Charles Babcock

George L. McWilliams

Texas Bar No: 13877000
GEORGE L. MCWILLIAMS, P.C.
406 Walnut

P.O. Box 58

Texarkana, Texas 75504-0058
(903) 277-0098

(870) 773-2967—Fax

Email: glmlawoffice@gmail.com

ATTORNEY FOR DEFENDANT
RICK FRENKEL

DEFENDANTS CISCO SYSTEMS, INC. AND RICHARD FRENKEL’S NOTICE OF SUPP. DISCLOSURE
-Page 2-

Case 6:08-cv-00089-RAS Document 69 Filed 10/24/08 Page 3 of 3 PagelID #: 498

CERTIFICATE OF SERVICE

This is to certify that on this 24" day of October, 2008, a true and correct copy of the
foregoing was served upon:

George L. McWilliams

406 Walnut

P.O. Box 58

Texarkana, Texas 75504-0058

Attorney for Defendant Richard Frenkel

James A. Holmes

605 South Main Street, Suite 203
Henderson, Texas 75654

Attorney for Plaintiff Eric Albritton

/ Charles L. Babcock
Charles L. Babcock

DEFENDANTS CISCO SYSTEMS, INC. AND RICHARD FRENKEL’S NOTICE OF SUPP. DISCLOSURE
-Page 3-

5327214v.1
